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         FACEBOOK EXHIBIT AE

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Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC-JSC


This document relates to:                         NAMED PLAINTIFFS’ AMENDED
                                                  INITIAL DISCLOSURES
ALL ACTIONS




NAMED PLS.’ AMENDED INITIAL                   1                                  MDL NO. 2843
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          Named Plaintiffs Steven Akins, Jason Ariciu, Rev. Anthony Bell, Bridgett Burk, Terry

Fischer, Tyler King, Jordan O’Hara, and Cheryl Senko, by and through Co-Lead Counsel for

Plaintiffs and the Proposed Class, make the following amended initial disclosures pursuant to

Federal Rule of Civil Procedure (“Rule”) 26(a)(1). 1

                         GENERAL LIMITATIONS AND EXCEPTIONS

          The initial disclosures are made upon a good faith review of information reasonably

available to Plaintiffs at this time. Plaintiffs reserve the right to modify, amend, or otherwise

supplement these disclosures, pursuant to Rule 26(e), as additional information becomes

available through formal and informal discovery and investigation. Additionally, Plaintiffs make

these disclosures without waiver of attorney-client privilege, work product doctrine, or other

applicable privilege or doctrine, and reserve the right to object to production and/or introduction

into evidence any document within the categories described herein on the basis of privilege,

relevance, materiality, confidence, or otherwise appropriate.

                                  I.     INITIAL DISCLOSURES
          Subject to the foregoing reservations and exceptions, and without waiver thereof,

Plaintiffs respond to the initial disclosure items under Rule 26(a)(1) as follows:

A.        The name and, if known, the address and telephone number of each individual
          likely to have discoverable information—along with the subjects of that
          information—that the disclosing party may use to support its claims or defenses,
          unless the use would be solely for impeachment.
          RESPONSE:

          Based on the information currently available to Plaintiffs, each of the individuals,

facilities, or entities below is likely to have discoverable information that Plaintiffs may use to

support their claims, along with the subject of such information.

          Named Plaintiffs. The individuals listed below are represented by Plaintiffs’ counsel and

should be contacted only through Co-Lead Counsel:



1
    Plaintiffs have notified Facebook that Samuel Armstrong seeks to withdraw as a Named
    Plaintiff. Plaintiffs have provided a draft stipulation to Facebook reflecting his intent.
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                Steven Akins (thaturmoil@gmail.com; steven.t.akins.3@facebook.com;

stevenakins@hotmail.com)

                Jason Ariciu (jariciu@gmail.com; jariciu@att.net; jasedwa@facebook.com)

                Rev. Anthony Bell (whfcmembers@verizon.net; newbellbackup@gmail.com)

                Bridgett Burk (missourichick@gmail.com; deletedsoul@gmail.com;

bridgettbarnhill@gmail.com; bjbucf@gmail.com)

                Terry Fischer (tlfischer975@yahoo.com)

                Tyler King (damendesigns@aol.com; contact.tylerking@gmail.com)

                Jordan O’Hara (zapj080@aa.edu; ohara@uoregon.edu;

jordan.ohara11@gmail.com; cavalierofcarnage@gmail.com; jordan.ohara.92@facebook.com)

                Cheryl Senko (cherylsenko@att.net; cheryl@mayfieldcollisioncenter.com;

cheryl.senko@facebook.com)


          These individuals likely will have information regarding the content and information they

provided to Facebook; regarding their communications, including but not limited to

correspondence, with Facebook; and/or regarding injury they incurred as a result of Defendants’

failure to properly protect Facebook users’ content and information from misuse or unauthorized

access.

          Current and former Facebook officers, directors, and employees. Plaintiffs anticipate

that current and former agents of Defendant Facebook will have discoverable information to the

extent they have knowledge regarding Facebook’s relationships with business partners and apps,

including the identity of these third parties, what content and information these third parties

accessed, whose content and information was accessed, how that content and information was

used, and whether Facebook had notice of its use; Facebook’s security practices, including what

actions Facebook took or omitted to control how third parties accessed and used users’ content

and information; the monetary gain Facebook accrued from the access it allowed third parties;
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and relevant data-misuse or data-compromise events affecting Facebook. The list of such

individuals presently known to Plaintiffs includes:

              John Anderson;
              Paul André;

              Ime Archibong;

              Liza Bales;

              Shanquan “Luke” Bao;

              James Barnes;

              Arturo Bejar;

              Mary Berk;

              Monika Bickert;

              Andrew “Boz” Bosworth;

              Michael Buckley;

              Joseph Chancellor;

              Jackie Chang;

              Luke Conlan;

              Laura Covington;

              Chris Cox;

              Simon Cross;

              Amanda Earhart;

              Erin Egan;

              Steven Elia;

              Vladimir Fedorov;

              Pete Fleming;

              Annie Franco;

              Debbie Frost;

              William “Bill” Fusz;


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              Jeremy Galen;

              Antonio Garcia-Martinez;

              David Ginsberg;

              Chad Greene;

              Katie Harbath;

              Allison Hendrix;

              Mustafa Kahn;

              Lauri Kanerva;

              Peter Kang;

              Aldo King;

              Anne Kornblut;

              Yul Kwon;

              Amy Lee;

              George Lee;

              Kristin Lee;

              Anne-Marie Lentini;

              Sam Lessin;

              Anne Lewis;

              Daniel Li;

              Ana Liu;

              Deborah Liu;

              Grace Molnar;

              William Nevius;

              Javier Olivan;

              Edward “Eddie” O’Neil;

              Justin Osofsky;

              Chamath Palihapitiya;

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              Edward Palmieri;

              Maya Pan;

              Konstantinos Papamiltiadis;

              Sandy Parakilas;

              Kian Park;

              Eva Press;

              Shyam Rajaram;

              Michael Richter;

              Ryan Ritter;

              Dan Rose;

              Ken Rudin;

              Shirine Sajjadi;

              Sheryl Sandberg;

              Amit Sangani;

              Audrey Savins;

              Matt Scutari;

              Rob Sherman;

              Eduardo Silva;

              Ellen Silver;

              Carl Sjogreen;

              Matt Steinfeld;

              Margaret Gould Stewart;

              Andy Stone;

              Jenny Streets;

              Katherine Tomko;

              Matt Trainer;

              Ly Tran;

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              Francisco Varela;

              Michael Vernal;

              Simon Walker;

              Jack Yang;

              Eugene Zarashaw (f/k/a Eugene Zarakhovsky);

              Julie Zhuo;

              Mark Zuckerberg.

       Non-Parties. Plaintiffs anticipate that current and former employees of companies with

whom Facebook partners, including data brokers, data aggregators, advertisers and app

developers may have discoverable information to the extent they have knowledge regarding

Facebook’s relationships with them, including the identity of these third parties, what content

and information these third parties accessed, whose content and information was accessed, how

that content and information was used, and whether Facebook had notice of its use; Facebook’s

security practices, including what actions Facebook took or omitted to control how third parties

accessed and used users’ content and information; the monetary gain Facebook accrued from the

access it allowed third parties. The list of such entities presently known to Plaintiffs includes:

              3DNA Corp. (d/b/a NationBuilder);

              Accenture LLP;

              Acxiom LLC;

              Advance Magazine Publishers Inc.;

              Adways Interactive, Inc.;

              Apple, Inc.;

              Argus Information and Advisory Service, LLC;

              Azumio, Inc.;

              Bumble Trading Inc.;

              Censia Inc.;

              Coffee Meets Bagel, Inc.;

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              ComScore, Inc.;

              CubeYou, Inc.;

              Data Axle Inc.;

              Digital Stakeout Inc.;

              DNP Imagingcomm America;

              DT Client Services (d/b/a Data Trust);

              Epsilon Data Management, LLC;

              Equifax Inc.;

              Experian Information Solutions, Inc.;

              FitNow, Inc.;

              Flo Health, Inc.;

              FullContact, Inc.;

              Infostar LLC;

              LiveRamp Holdings, Inc.;

              Move, Inc. (d/b/a Move Holdings);

              Netflix, Inc.;

              Oracle Corporation;

              Six4Three LLC;

              Spotify USA Inc.;

              Steven Levy;

              TransUnion LLC;

              United Parcel Service, Inc.;

              Verisk Analytics Inc.;

              Verv Inc.;

              Walgreens Company;

              Warner Bros. Entertainment Inc.;

              X1 Discovery, Inc.;

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              Yahoo!, Inc.;

              Zillow Inc.;

              Zoosk, Inc.;

              Zynga, Inc.

              The list of “100,746 apps that Facebook has suspended as of December 23, 2019

as part of its investigation in the wake of the announcement regarding Cambridge Analytica’s

potential misuse of Facebook user data in violation of Facebook’s policies.” FB-CA-MDL-

01792948.
       Government and other regulatory agencies, and their current and former employees, may

have discoverable information to the extent they have knowledge regarding Facebook’s

relationships with business partners and apps, including the identity of these third parties, what

content and information these third parties accessed, whose content and information was

accessed, how that content and information was used, and whether Facebook had notice of its

use; Facebook’s security practices, including what actions Facebook took or omitted to control

how third parties accessed and used users’ content and information; the monetary gain Facebook

accrued from the access it allowed third parties; and relevant data-misuse or data-compromise

events affecting Facebook. The list of such entities presently known to Plaintiffs includes:

              Attorney General for the State of Alabama;

              Attorney General for American Samoa;

              Attorney General for State of California;

              Attorney General for State of Colorado;

              Attorney General for State of Connecticut;

              Attorney General for State of Delaware;

              Attorney General for the District of Columbia;

              Attorney General for Guam;

              Attorney General for the State of Hawaii;

              Attorney General for the State of Idaho;

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              Attorneys General for the State of Illinois;

              Attorney General for the State of Iowa;

              Attorney General for the State of Kansas;

              Attorney General for the Commonwealth of Kentucky;

              Attorney General for the State of Maine;

              Attorney General for the State of Maryland;

              Attorney General for the Commonwealth of Massachusetts;

              Attorney General for the State of Michigan;

              Attorney General for the State of Minnesota;

              Attorney General for the State of Mississippi;

              Attorney General for the State of Missouri;

              Attorney General for the State of New Hampshire;

              Attorney General for the State of New Jersey;

              Attorney General for the State of New Mexico;

              Attorney General for the State of New York;

              Attorney General for the State of North Carolina;

              Attorney General for the State of North Dakota;

              Attorney General for the State of Ohio;

              Attorney General for the State of Oregon;

              Attorney General for the Commonwealth of Pennsylvania;

              Attorney General for the State of Rhode Island;

              Attorney General for the State of South Dakota;

              Attorney General for the State of Tennessee;

              Attorney General for the State of Vermont;

              Attorney General for the Commonwealth of Virginia;

              Attorney General for the State of Washington;

              United States Congress;

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               United States Federal Trade Commission;

               United States Securities and Exchange Commission.

        Firms and individuals that provide services to Facebook and/or its executives or other

employees, evaluate, investigate, and/or audit Facebook’s business and practices, and/or provide

advice to Facebook, its officers, directors, or employees, whether by formal engagement or

informally, may have discoverable information to the extent they have knowledge regarding

Facebook’s relationships with business partners and apps, including the identity of these third

parties, what content and information these third parties accessed, whose content and information

was accessed, how that content and information was used, and whether Facebook had notice of

its use; Facebook’s security practices, including what actions Facebook took or omitted to

control how third parties accessed and used users’ content and information; the monetary gain

Facebook accrued from the access it allowed third parties; and relevant data-misuse or data-

compromise events affecting Facebook. The list of such entities and individuals presently known

to Plaintiffs includes:

               Ernst & Young LLP;

        

        

               PricewaterhouseCoopers LLP;

               Protiviti, Inc.;

               RiskIQ, Inc.;

        

               Target Systems Development Inc.

        Non-prioritized Defendants and unnamed Defendant and Non-Defendant co-

conspirators. Plaintiffs anticipate that the following non-prioritized Defendants may have

discoverable information:
               Stephen Kevin Bannon | 840 N. Lexington St., Arlington, VA 22205




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              Aleksandr Kogan (a/k/a Aleksandr Spectre) | 1285 Main St. Apt. # 312, Buffalo,

               NY 14209

       Plaintiffs anticipate that current and former employees of the following unnamed

Defendant and Non-Defendant Co-Conspirators are likely to have discoverable information:

              Cambridge Analytica LLC;

              Cambridge Analytica Commercial LLC;

              Cambridge Analytica Holdings LLC;

              Cambridge Analytica Limited;

              Cambridge Analytica (UK) Limited;

              Cambridge Analytica Political LLC;

              SCL Elections Limited;

              SCL Group Limited;

              SCL USA Inc.;

              Global Science Research Limited.

B.     A copy—or a description by category and location—of all documents, electronically
       stored information, and tangible things that the disclosing party has in its
       possession, custody, or control and may use to support its claims or defenses, unless
       the use would be solely for impeachment.
       RESPONSE:

       Based on the information currently available to Plaintiffs, Plaintiffs may use the

following documents currently in their possession, custody, or control to support their claims:

       1.      Documents relating to the misuse of users’ data and information relating to

ThisIsYourDigitalLife (“TIYDL”) and any other business partner and/or app developer;

       2.      Documents regarding Facebook’s policies and procedures during the proposed

Class Period; and

       3.      Documents regarding damages suffered by Plaintiffs and the proposed Class,

including but not limited to actual or attempted identity theft, credit monitoring, related out-of-

pocket costs, fraud reports, police reports, and correspondence regarding the same, as well as

documents regarding Plaintiffs’ efforts to mitigate, prevent, and address their damages.

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       4.      Documents and other information produced by Facebook in response to discovery

served in this case.

       5.      Documents and other information produced by third parties in response to

discovery served in this case.

       6.      Publicly available documents and information that concern the allegations,

claims, or defenses at issue in this action, including but not limited to testimony provided by

representatives, employees, former employees, or others associated with Facebook; documents

produced in other litigation and investigations, including but not limited to the investigation

conducted by the U.K. Department for Digital, Culture, Media and Sport, that have been made

publicly available; and other relevant publicly-available documents.

       To the extent such documents are not equally available to or are not already in the

custody of Defendants, Plaintiffs have begun producing these documents on a rolling basis

pursuant to the Protective Order entered in this action.

       Plaintiffs expect that the majority of the documents supporting their claims are in the

possession, custody, or control of Defendants.

C.     A computation of each category of damages claimed by the disclosing party—who
       must also make available for inspection and copying as under Rule 34 the
       documents or other evidentiary material, unless privileged or protected from
       disclosure, on which each computation is based, including materials bearing on the
       nature and extent of injuries suffered.
       RESPONSE:

       The calculation of damages will involve analysis, including expert analysis, following

Defendants’ production of documents bearing on such issues. Expert disclosures are governed

by Rule 26 and damage computations will be exchanged pursuant to the Federal Rules and the

case management order setting forth disclosure deadlines, Dkt. No. 706. Further, discovery is

ongoing. Plaintiffs have propounded discovery relating to the value and revenue impact of

Facebook’s use of Plaintiffs’ content, information and data, including inferred, derived and

embedded data, and the parties are negotiating its production. Plaintiffs expressly reserve their

right to amend these responses based on Facebook’s production.


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       Plaintiffs seek damages and restitution pursuant to their prioritized, live claims in this

action. Those claims include breach of contract and unjust enrichment, negligence, three privacy

causes of action arising under California law, the Video Privacy Protection Act, and the Stored

Communications Act. Pursuant to these causes of action, Plaintiffs seek the following categories

of damages:

              Unjust enrichment damages and/or disgorgement of Facebook’s excess profits

               taken by Facebook from third parties as a result of Facebook’s unlawful,

               undisclosed and unconsented use of users’ private data, content and information,

               associated with the unlawful, unconsented use by Facebook of Plaintiffs’ data,

               information and/or content in a manner beyond the scope of Plaintiffs’ consent,

               including but not limited to the value of the data, information and/or content and

               any diminution in the use of that data, information and/or content as a result of

               Facebook’s unlawful, unconsented to conduct, including but not limited to a

               failure to protect users’ data.

              Compensatory damages associated with the unlawful, unconsented use by

               Facebook of Plaintiffs’ data, information and/or content in a manner beyond the

               scope of Plaintiffs’ consent, including but not limited the value of the data,

               information and/or content and any diminution in the use of that data, information

               and/or content as a result of Facebook’s unlawful, unconsented to conduct,

               including but not limited to a failure to protect users’ data. In this case,

               compensatory damages are neither an adequate nor a complete remedy.

              Nominal damages associated with Plaintiffs’ claims, including Plaintiffs’ contract

               and negligence claims.

              Punitive damages arising out of Facebook’s gross misconduct, including but not

               limited to claims for negligence and Plaintiffs’ privacy claims.

              Statutory damages arising out of Plaintiffs’ claims under the VPPA and SCA.




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D.     For inspection and copying as under Rule 34, any insurance agreement under which
       an insurance business may be liable to satisfy all or part of a possible judgment in
       the action or to indemnify or reimburse for payments made to satisfy the judgment.
       RESPONSE:

       Not applicable to Plaintiffs.

Dated: January 14, 2022                                Respectfully submitted,


KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                             By:       /s/ Lesley E. Weaver
       Derek W. Loeser                                           Lesley E. Weaver

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                                   Plaintiffs’ Co-Lead Counsel




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Plaintiffs’ Co-Lead Counsel



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
 PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC-JSC


 This document relates to:                            CERTIFICATE OF SERVICE
 ALL ACTIONS


     I hereby certify that I have served a true and correct copy of:

         NAMED PLAINTIFFS’ AMENDED INITIAL DISCLOSURES

via Email on this 14th day of January 2022, to the person(s) set forth below

Joshua Seth Lipshutz                           Martie Kutscher-Clark
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Kristin A. Linsley                             Russell Falconer
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         I declare under the penalty of perjury pursuant to the laws of the United States of

 America that the forgoing is true and correct.

         Executed at Oakland, California, on January 14, 2022.


                                                   /s/ Julie Law_____
                                                  Julie Law




CERTIFICATE OF SERVICE                             2                                   MDL No. 2843
                                                                        Case No. 18-md-02843-VC-JSC
